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t s1Nl~                                                                        ~, _ .:;
          ROBERT H. NEWELL                                                                   ~YLL~
      2
          robert.hardy.newell@gmail.com                                               ~,~ _~; -~        ~„'i
          218 S. Oakland Avenue, Unit 302                                             ;.G:-; ~          ~-"
      3
          Pasadena, CA 91101                                                           ~~`:.;`~~ ~       v
          303-241-8783                                                                 ~= ~~ ~- _
      9   Plaintiff In Pro Per                                                         ~ ~ ,y~,
                                                                                         ~ .. ;~   ~,
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      8
                                     UNITED STATES DISTRICT COURT
      9
                                    CENTRAL DISTRICT OF CALIFORNIA
     io
     ~~   ROBERT H. NEWELL,                      L A      ~y~~'~ Q 893~, —3~r~'
                                                                              ,rnx
     12
                       Plaintiff,
     13
                VS.
     14
                                                          COMPLAINT FOR DECLARATORY
                                                          AND INJUNCTIVE RELIEF
     15   GAVIN NEWSOM,in his official capacity
          as Governor ofthe State of California,
     16
          XAVIER BECERRA,in his official
     ~~   capacity as Attorney General ofthe State
     18
          of California, and JACKIE LACEY,in her
          official capacity as the District Attorney of
     19
          Los Angeles County
     20                Defendants
     21
                                                                                 ___
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     22                                                                   SF~ 2 9X20
     23
                                                                      L_ ___-----.-
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                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF - 1
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      7

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      For my complaint, I allege as follows:
 2
                                          INTRODUCTION
 3
      RELEVANT STATUTES
 4
            1.     California Family Code (hereinafter "CFC")§ 3900 stipulates that the
 5
      mother and father of a minor child have an equal responsibility to support their child.
 6
            2.     California Health and Safety Code § 1255.7 and California Penal Code §
     271.5 provide immunity for voluntary surrender of a newborn at designated safe-
 a
     surrender sites. Parents are not liable for future support because any identifying
 9
     information is kept confidential. California Health and Safety Code § 1255.7(k). In 2018,
io
     79 babies were surrendered this way. California Department of Social Services, SSB
~~
     Data, https://www.cdss.ca.~ov/inforesources/ocap/safely-surrendered-bab y/data. In some
12
     other states, only the mother can surrender an infant. See, e.g., GA. CODE ANN.§ 19-
13
      1 OA-4; TENN. CODE ANN.§ 36-1-142.
14
            3.     CFC § 7822 provides for the termination of parental rights and
15
     responsibilities in the case of child abandonment. To be considered abandoned, §
16
     ~ 7822(a)(3)stipulates that one parent has left the child in the care and custody ofthe other
~~
     parent for a period of one year without any provision for the child's support, or without
18
     communication ofthe parent, with the intent on the part ofthe parent to abandon the
19
     child. CFC § 7803 provides that such declaration of abandonment frees the child from
20
     ~ parental custody and control and terminates all parental rights and responsibilities with
2~
     regard to the child. The purpose ofthese provisions is to "serve the welfare and best
22
     interest of a child by providing the stability and security of an adoptive home when those
23
     conditions are otherwise missing from the child's life." CFC § 7800.
24
            4.    CFC §§ 8604, 8605, and 8700 provide that a child can be adopted with the
25
     consent ofthe child's birth parents, or by a single parent. Unlike CFC § 7822,
26
     relinquishment of a child for adoption does not have aone-year waiting requirement. In
2~
     fact, AdoptHelp,the top Yelp-rated adoption agency in the Los Angeles area, writes in i
28




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     FAQ:"ifyou go into labor and have not yet selected afamily, don't worry. Together we
z    can create an adoption plan in a matter ofhours."https://www.adopthelp.com/birth-
3    mother-question-explain-the-adoption-process-at-the-hospital/
4

5

6                      Birth Mother Question: I am about to go into labor in the
                      next few weeks. Can you explain the adoption process at the
                                               hospital?
 s                    a~,n+a m.~ r.,..nv co000~.,nonu,n~,~a~o.

                      nr wq pwq eo knew a nw r~~sax cnoa..a~~r,           ne M.ECM auk na w vM~wn .eoo~N. w~e~u n h ro w wo ~.a m cnan.~
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                      tops~iwl d 1M Hrtn owMlsf Ertl Wopl►e M~M~Y a bM0 t1r cM17 mto tl+e xvN wpotlw

1~                    Most aAopteO <I~kOron tGdaV G~ to Yom'/ uD M~~InO obout MW r ENUUfuI aEopipn Rpy MO firth Iron aODOihV Wnnb win wPOro fo6KWtl b/ IhNr
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                      1p0e0 VMS AaW~an Ave+> bold~ Ve~e„[,. &~~ MetM+Que+l~en B~rt~ MetMf



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15         5.    Relinquishment can be made to the California Department of Social
16   Services, a county adoption agency, or a licensed adoption agency. CFC § 8700(a).
~~         6.    Relinquishment terminates all parental rights and responsibilities, including
ie   the payment of child support. CFC § 8700(j). After an adoption is complete, all parental
19   duties and responsibilities are relieved. CFC § 8617(a).
Zo         7.    Relinquishing a child for adoption is common. According to U.S. Census
21   data, approximately two million children, or 2% of minors in the United States, live with
a2   adoptive parents. See Rose M. Kreider &Daphne A. Lofquist, Adopted Children and
23   Stepchildren: 2010, Current Population Reports, P20-572, 4 (Table 1), U.S. CENSUS
29   BUREAU (Apr. 2014), https://tinyurl.com/vc2w4vtp.
25         8.     Adoptions are not always permanent. According to the U.S. Department of
26   Health and Human Services, anywhere from one percent to 5 percent of the more than
2~   100,000 adoptions in the U.S. each year are legally terminated in what's called a
28   "dissolution." Caitlin Moscatello, Un-Adopted: YouTubers Myka and James Stauffer



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      shared every step oftheir parenting journey. Except the last. The Cut, August 2020.
 2    https://www.thecut.com/2020/08/youtube-mykafames-Stauffer-huxle~adoption.html
 3          9.     CFC § 4055 stipulates the statewide uniform guideline for determining child
 4    support. When the high-earning parent does not have custody, typically at least 12% of
 5    that parent's disposable income is earmarked for child support according to the
 6    guidelines. Such support can be enforced by a writ of execution or a notice of levy, or an
     earnings assignment order. CFC §§ 5100 and 5230.
 8          10.    Under CFC § 7540,the child of spouses cohabiting at the time of conception
 9   and birth is conclusively presumed to be a child ofthe marriage. Under § 7541(b), a
io   challenge to the child's parentage under § 7540 can only be undertaken within two years
~~   ofthe child's birth.
12   CONSTITUTIONAL SIGNIFICANCE
13          1 1.   The upshot of these statutory provisions is that when both parents, or a
14   parent having sole custody, desire to relinquish or surrender a child, the child can be
15   relinquished or surrendered quickly and easily. However, when only one parent wishes to
16   abdicate parental rights and responsibilities, it is termed "abandonment." The abdicating
~~   parent will likely be compelled to pay child support during the requisite one-year period,
la   and may have his or her petition for "abandonment" denied by the court if it is not in the
19   "best interest" ofthe child. Often, for a petition to terminate parental rights to be granted,
20   another, third party must stand ready to adopt the child —notjust the custodial parent.
21   See, e.g., Adoption ofA.B., 2 Cal. App. 5th 912,917(2016). See also In re Shannon W.,
22   69 Cal. App. 3d 956,962(1977).("The proceedings to declare a childfreefrom parental
23   control...are utilized tofacilitate the adoption ofthe minor child."). Adoption ofA.B. also
24   demonstrates that parental rights can be terminated when child support is paid but the
25   parent is not in contact with the child, which is important to the statutory construction of
26   CFC § 7822.
2~          12.    A judgment freeing a child from the custody and control of its parents
2a   in the total severance ofthe natural ties between the parents and the child and amounts to



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     the taking of"a liberty" under the due process clause ofthe United States Constitution. In
     re Susan M.,53 Cal. App. 3d 300,310(1975). Courts have long taken the position that
     the right to conceive and raise one's children is an essential, basic civil right of man far
     more precious than property. In re Jack H., 106 Cal. App. 3d 257, 263(1.980). If
     conceiving and raising children is a basic civil right, then so is choosing not to conceive
     or raise children. If a high constitutional bar exists for the Government to deny a parent
     his or her children, so a high bar must exist for the Government to foist a child on an
     unwilling parent. Such was the conclusion ofthe Supreme Court of Tennessee, to be
     discussed infra. Davis v. Davis, 842 S.W.2d 588(1992).
io          13.   Ifthe right of privacy means anything, it is the right ofthe individual,
~~   married or single, to be free from unwarranted governmental intrusion into matters so
12   fundamentally affecting a person as the decision whether to bear or beget a child.
13   Eisenstadt v. Baird, 405 U.S. 438,453(1972). Much like Eisenstadt extended the right to
14   contraception to individuals that Griswold had to married couples, a parent's right to
15   surrender parental rights and responsibilities cannot be held hostage by the co-parent.
16          14.    Laws like CFC § 7822 and § 8617 which distinguish between single parents
~~   and biological parents in agreement about adoption on the one hand, and biological
is   parents in disagreement on the other, are constitutionally repugnant. A biological parent
19   subjected to the treatment of§ 7822 is denied due process oflaw and equal protection of
20   the laws guaranteed by the Fourteenth Amendment. Stanley v. Ill., 405 U.S. 645,649
21   (1972).
a2          15.    The right to surrender a child for adoption has not been formally recognized
23   as a fundamental right. But state and federal courts have long recognized that adoption is
29   an essential means "to create a legal connection between the adoptive parent and a child,"
25   "to preserve and protect the best interests of the child," "to secure for the child a
26    permanent, stable environment," and "to achieve finality in the placement of children" 2
2~    Am. Jur. 2d Adoption § 8(Nov. 2017 update)(collecting cases). Plaintiff is unaware of
28




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     ~ any case in which two parents, or a single parent, who sought to relinquish their child for
 2   adoption or surrender their newborn were denied.
 3          16.    Given that it has long been available in a1150 states and international
 4   jurisdictions, it is reasonable to characterize the right to surrender a child to adoption as a
 5   fundamental or constitutional right. Regardless of its formal categorization, however, the
 6   right to surrender a child to adoption is provided for in California law and it is a violation
     ofthe 14th Amendment's promise of equal protection to offer that right to biological
 8   parents in agreement and single parents, but not biological parents in disagreement.
 9          17.   "Yet the marital couple is not an independent entity with a mind and heart of
io   its own, but an association oftwo individuals each with a separate intellectual and
i~   emotional makeup." Eisenstadt v. Baird, 405 U.S. 438,453 (1972). Such was the
12   reasoning by which the Eisenstadt court reached the conclusion that prospective parents
13   are not a monolith, and the fundamental right to contraception belonged to each
14   individual —not the two individuals that comprise a married couple. So it must be for
15   adoption and newborn surrender as well.
16          18.    While California will pursue unwilling fathers for child support, the state
~~   will also deny willing natural fathers parental rights when the conclusive presumption of
is   CFC § 7540 assigns legal parenthood to another person. See Michael H. v. Gerald D.,
19   491 U.S. 110, 125 (1989). ("We have found nothing in the older sources, nor in the older
20   cases, addressing specifically the power ofthe natural father to assert parental rights over
21   a child born into a woman's existing marriage with another man.)Ifthe natural progenitor
2z   status of a fit parent is insufficient to grant that parent parental rights, then natural
23   parenthood should also be insufficient to foist parental responsibilities on an individual.
24          19.   Under California's statutory regime today, child support orders are enforced
25   and abandonment petitions can be denied allegedly because it serves the "best interests"
26   ofa child. But in reality, two parents can agree to relinquish a child and incur no
2~   continuing support obligations. A parent is therefore hostage to the whims ofthe co-
28   parent, not to the child itself. It is a denial ofthe equal protection ofthe laws to allow



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1    parents in agreement to avoid child support obligations, but to impose such obligations
2    when one parent demands it. This is especially true because the law imposes such
3    obligations on statutory rape victims, parents who did not engage in sexual intercourse,
4    and people who are not actually the natural parent of the child. To remedy this disparity,
5    courts must end the one-year requirement in CFC § 7540, and liberally grant parental
6    petitions for abandonment. The fact that a parent voluntarily files a CFC § 7822
     abandonment petition should be considered strong primafacie evidence that the child's
s    best interests are served by granting such a petition to recuse the unwilling parent from
9    further parental rights and obligations.
10
                                                PARTIES
~~
           20.    Plaintiff Robert H. Newell is a resident of the Central District of California.
12
           21.    All Defendants are sued in their official capacities only.
13
           22.    Defendant Gavin Newsom is the Governor ofthe State of California. As
14
     Governor, he is vested with "the supreme executive power" ofthe State and "shall see
15
     that the law is faithfully executed." Cal. Const. art. 5, § 1.
16
           23.    Defendant Xavier Becerra is the Attorney General ofthe State of California.
~~
     He is the "chieflaw officer" ofthe State and has the duty to "see that the laws ofthe Stat
is
     are uniformly and adequately enforced." Cal. Const. art 5,§ 13. Additionally, Attorney
19
     General Becerra has "direct supervision over every district attorney", in the State. Id. If a
20
     any point a district attorney ofthe State fails to enforce adequately "any law ofthe State,
21
     the Attorney General must "prosecute any violations ofthe law." Id. Finally, the Attorne;
22
     General performs official duties within the Central District of California.
23
           24.    Defendant Jackie Lacey is the District Attorney ofLos Angeles County and
24
     performs her official duties within the Central District of California.
25

26                                 JURISDICTION AND VENUE
2~          25.    This action arises under 42 U.S.C. § 1983 and the United States
28   Constitution. This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and



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      1343, as well as under this Court's Original Jurisdiction, under which the Court can
 2    entertain an action to redress a deprivation of rights guaranteed by the United States
 3    Constitution. Declaratory and injunctive relief are authorized by 28 U.S.C. §§ 2201 and
 4   2202. See also Fed. R. Civ. P. 65.
 5          26.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because
 6   Plaintiff resides in this District and thus, a substantial part ofthe events giving rise to this
     claim occurred in this District.
 e
                                    FACTUAL ALLEGATIONS
 9
            27.    Men can be held responsible for paternity and child support even without
io
     engaging in vaginal intercourse. In Phillips v. Irons, Richard Phillips was required to pay
~~
     child support to Sharon Irons after she artificially inseminated herself using semen
12
     obtained from oral sex. The Associated Press, Sperm: The `gift' that keeps on giving,
13
     NBC News,Feb. 24, 2005 (http://www.nbcnews.com/id/7024930/ns/health-
14
     sexual health/t/sperm-mi        ps-givin~/     yeZBChKiUI). This was true even though
15
     under the reported facts, a court characterized Irons' conduct as follows: deceitfully
16
     engaging in sexual acts, which no reasonable person would expect to result in pregnancy,
~~
     to use Phillips' sperm in an unorthodox, unanticipated manner yielding extreme
is
     consequences in the form of pregnancy. The court said that such conduct by Irons was
19
     "outrageous" and would constitute tortious conduct. Phillips v. Irons, 2005 Ill. App.
Zo
     Unpub. LEXIS 2, 10-11 (2005).
zi
            28.   For this reason, the National Basketball Association(NBA)even teaches
22
     rookie players to securely dispose of used condoms,in order to prevent stolen semen
23
     from being used for artificial insemination, child support, and financial gain by the
24
     unscrupulous. Marc Berman, Sources back Derrick Rose: NBA teaches condom disposal,,
25
     The New York Post, October 12, 2016(https://ny~ost.com/2016/10/12/sources-back-
26
     ~ derrick-rose-nba-teaches-condom-disposal/).
2~

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            29.    Women using sperm to impregnate themselves without a male partner's
2     consent are probably rare. However,the issue looms large in the male imagination
3     because the consequences are so large and borne so asymmetrically. In Kanye West's
4     Gold Digger, he raps "Eighteen years, eighteen years, she got one of your kids, got you
5     for eighteen years...and on the 18~' birthday he found out it wasn't his".
6           30.    Men are required to pay child support even when they are victims of
      statutory rape. Alia Bear Rau, Statutory rape victim forced to pay child support, USA
 s    Today, September 2, 2014
 9   (htt~s://www.usatoday.com/story/news/nation/2014/09/02/statutory-rape-victim-child-
io    support/14953965/).
~~           31.   In County ofSan Luis Obispo v. Nathaniel J., a 15-year-old statutory rape
12    victim was declared liable for child support. County ofSan Luis Obispo v. Nathaniel J.,
13    57 Cal. Rptr. 2d 843,843(1996). The court announced its opinion by saying that,
14    "Victims have rights. Here, the victim also has responsibilities." Ibid. The court opined
15    that the victim was a "willing" participant who was not an "innocent victim" because the
16    minor had characterized the rape as "mutually agreeable." Id. at 843-844.
~~           32.   Men are required to pay child support even when they are not the natural
is    father of a child. Under CFC §§ 7540 and 7541, parentage is "conclusively presumed"
19    when parents are married and cohabiting; a challenge based on genetic testing can only
Zo    be brought within two years ofthe child's birth. If such a challenge is not brought within
21    two years, the putative father faces 16 additional years of indentured servitude under CFC
2a    § 4055.
23           33.   Under California law, child support payments can be foisted upon statutory
24    rape victims and the sexually abstinent. However, child support payments can be avoided
25    entirely if the biological co-parent also agrees to relinquish the child for adoption or to
26    surrender a newborn. Alternatively, child support payments can be avoided if the co-
2~    parent locates a third party to co-adopt the child to facilitate the biological parent's
28




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      abandonment petition under CFC § 7822, so long as the third party serves the "best
 z    interest" ofthe child.
 3
          COUNT 1: CFC ~ 7822 IMPLICATES AND VIOLATES FUNDAMENTAL
 9
                                               RIGHTS
 5
            34.    Laws which implicate fundamental rights are reviewed with strict scrutiny
 6
      for equal protection purposes. "Strict scrutiny ofthe classification which a State makes in
      a sterilization law is essential...When the law lays an unequal hand on those who have
 8
      committed intrinsically the same quality of offense and sterilizes one and not the other, it
 9
      has made as invidious a discrimination as if it had selected a particular race or nationality
io
      for oppressive treatment." Skinner v. Oklahoma,316 U.S. 535, 541 (1942).
~~
            35.    It is true that in Rivera v. Minnich, the Supreme Court wrote that,"the
12
      putative father has no legitimate right and certainly no liberty interest in avoiding
13
      financial obligations to his natural child that are validly imposed by state law." Rivera v.
14
      Minnich, 483 U.S. 574, 580(1987). However,the Court was writing before any safe
15
      surrender statute had been passed —which will be discussed infra.
16
            36.     The decision to bear or beget a child is a fundamental right.("Ifthe right of
~~
      privacy means anything, it is the right ofthe individual, married or single, to be free from
18
      unwarranted governmental intrusion into matters so fundamentally affecting a person as
19
      the decision whether to bear or beget a child.")Eisenstadt v. Baird, 405 U.S. 438,453
20
     (1972).
ai
            37.    Intimate sexual conduct is a fundamental freedom, and the right to make
22
      certain decisions regarding sexual conduct extends beyond the marital relationship.
23
      Lawrence v. Texas, 539 U.S. 558,562 & 565 (2003)."Individual decisions by married
24
      persons, concerning the intimacies oftheir physical relationship, even when not intended
25
      to produce offspring, are a form of `liberty' protected by the Due Process Clause ofthe
26
      Fourteenth Amendment. Moreover, this protection extends to intimate choices by
2~
      unmarried as well as married persons." Id. at 578. This is because it is a promise ofthe
28




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      Constitution that there is a realm of personal liberty which the government may not enter.~
a     Planned Parenthood v. Casey, 505 U.S. 833, 847(1992).
3             38.      And yet, CFC §§ 4055 and 7822 subject individuals to onerous financial and
4     other obligations solely as a result of engaging in this protected intimate conduct. This is
5     constitutionally repugnant. To pass constitutional muster, CFC § 7822 must be amended
6     as proposed in the Prayer for Relief, infra. As it stands now,CFC §§ 4055 and 7822 face
      the same issue that doomed the law in Lawrence v. Texas: you can engage in the conduct,
8     but the state will punish you after the fact. The Supreme Court has said that this is
9     constitutionally unacceptable.
10
                COUNT 2: CFC ~ 7822 VIOLATES THE DOCTRINE OF PRIVITY
~~
              39.     "The doctrine of privity means that a person cannot acquire rights or be
12
      subject to liabilities arising under a contract to which he is not a party."' G.H. Treitel,
13
      The Law ofContract 538(8th ed. 1991).
14
              40.      CFC § 7822 gives parents the right to petition for a determination of
15
      abandonment. CFC § 7800 stipulates that such declarations of abandonment are granted
16
      or denied based on what serves the "best interests" ofthe child. The statutory scheme
~~
      implies that parent and child are in privity.
is
              41.      But that is not really true. A parent can unilaterally surrender an infant if the
19
      co-parent also agrees to the surrender, or if a third party agrees to adopt the child (with or
20
      without the co-parent). CFC § 7800 purports to protect the best interests ofthe child but
21
      in reality holds one parent's right to abandon hostage to the whims ofthe co-parent —
22
      even though the co-parent is not in privity with the parent under the "best interests ofthe
23
      child" statutory regime.
24
              42.      Rights cannot be held hostage by an intransigent co-parent, because co-
25
      parents are not in privity. Under the statutory scheme, a parent is only in privity with the
26

27

28
      'As cited in Black's Law Dictionary.



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      child. Such disparate treatment of parents with like-minded vs. non-like-minded co-
 2    parents cannot be justified by any legitimate government interest.
 3
           COUNT 3: CFC ~ 7822 VIOLATES THE FOURTEENTH AMENDMENT
 9
      EQUAL PROTECTION: ADOPTION AND SAFE SURRENDER
 5
             43.   It is an equal protection violation for a person to have the right to surrender,
 6
      or relinquish for adoption, a child only with agreement from the co-parent. CFC § 7800
      stipulates that CFC § 7822, the abandonment provision, operates to serve the "best
 8
      interests" of a child. But in reality, a parent is hostage only to the co-parent, because
 9
      parents in agreement can surrender a newborn under California Health and Safety Code §
io
      1255.7 or relinquish a child for adoption under CFC § 8700.
i~
            44.    It is arbitrary and capricious, and a denial ofthe equal protection ofthe laws,
12
      to deny an individual termination of parental rights and responsibilities because of a co-
13
      parent's opinion. This is particularly true when one considers that the co-parent may be
14
      the individual's statutory rapist(County ofSan Luis Obispo v. Nathaniel J., 57 Cal. Rptr.
15
      2d 843, 843 (1996)), the individual may have abstained from vaginal intercourse with the
16
      co-parent (Phillips v. Irons), and the individual may not even be the biological parent of
~~
      child(CFC §§ 7540 and 7541). And yet, such an individual is hostage to 18 years of
is
      indentured servitude under CFC § 4055."When the law lays an unequal hand on those
19
      who have committed intrinsically the same quality of offense and sterilizes one and not
20
      the other, it has made as invidious a discrimination as if it had selected a particular race
21
      or nationality for oppressive treatment." Skinner v. Oklahoma,316 U.S. 535, 541 (1942).
22
            45.    The co-parent need not necessarily even relinquish or surrender the child,
23
      nor find a third party who will co-adopt the child to facilitate the CFC § 7822
24
      abandonment petition. The state of California permits adoption by single people, and in
25
      fact the California Department of Social Services reports that'/4 of children adopted from
26
      the public foster system are adopted by single individuals. A parent could simply
2~
      relinquish rights and responsibilities to the co-parent alone. Concerns that a child would
28




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      become a "ward ofthe state" in a single parent household elide the fact that when two
2     parents surrender a newborn child, it automatically becomes a ward ofthe state.
3     https://www.cdss.ca. ~ov/adoptions
4      F 3 C Q    O ~dssca.gov/adoptions

                                           10. May single persons adopt?
5
                                           Yes, single men end women may also adopt. In fad, approximately one-fourth of the children
                                           adopted from the public foster care system are ad~ted by single individuals,
6


            46.      So, single parent households are suitable for children and neither the state
 s    nor the co-paxent is in a position to hold the parent for ransom under CFC §§ 4055 and
 9    7822. It should be primafacie evidence that the best interests ofthe child are served by
io    the CFC § 7822 abandonment petition because the parent wishes to abdicate parental
~~    rights and responsibilities.
12          47.      This complaint alleges supra that fundamental rights are implicated when a
13    parent voluntarily seeks termination of parental rights and responsibilities via a CFC §
14    7822 petition. As such, strict scrutiny is appropriate. Strict scrutiny means that the law is
15    "narrowly tailored" to further a "compelling" government interest. Johnson v.
16    California, 543 U.S. 499, 505 (2005).
~~          48.      But even under rational basis review, the statutory scheme of CFC §§ 4055
is    and 7822 cannot stand. Under rational basis review, a law must be "rationally related to
19    legitimate government interests." See, e.g., Washington v. Glucksberg, 521 U.S. 702, 728
20   (1997). The support of children is a legitimate government interest, and probably even a
21    compelling one. However,there is no rational basis to release two parents in agreement,
22    or a single parent, from all future parental obligations via safe surrender laws, while
23    imposing an 18-year financial obligation on a person whose co-parent wishes to retain the
29    child. The state does not even attempt a rational basis: instead, it abdicates this distinction
25    to the whim ofthe co-parent. The statutory scheme of CFC §§ 4055 and 7822 cannot
26    survive even rational basis review. Remember: the parent facing this obligation may be a
2~    statutory rape victim, County ofSan Luis Obispo v. Nathaniel J., 57 Cal. Rptr. 2d 843,
28




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      843(1996), may have abstained from vaginal intercourse with the co-parent(Phillips v.
      Irons), and may not even be the biological parent of child(CFC §§ 7540 and 7541).
             49.    The deference normally due to a legislative judgment is not merited when a
      statute delegates to private, nongovernmental entities the power to veto when that power
      is ordinarily vested in governmental agencies. Larkin v. Grendel's Den,459 U.S. 116,
       122(1982). The Supreme Court expressed a view that such a delegation to private,
      nongovernmental entities might never be constitutionally permissible. Ibid. It is
      conceivable that states might have the power to discern who can and cannot surrender
      their newborn,though Plaintiff does not concede the point. However, Grendel's Den
to    demands that discerning such surrender treatment cannot be delegated to a private,
~~    nongovernmental entity in the form ofthe co-parent. A co-parent cannot be the
iz    determiner of when a parent can and cannot abandon his parental rights and
13    responsibilities; a co-parent cannot foist parental obligations on a child's other
19    progenitor.
15          50.     The co-parent need not even relinquish or surrender the child. CFC § 7822
16    abandonment petitions are sometimes granted when a third party steps in to adopt the
~~    child alongside the co-parent(typically astep-father or step-mother adoption). But in this
is    case, the parent petitioning to relinquish her rights and responsibilities under CFC § 7822
19    is not hostage to the co-parent, but rather, to an unrelated third party. And since single
20    people are eligible to adopt in California, the state could simply permit the remaining co-
21    parent to have sole parental rights and responsibilities. But instead, the state will pursue
22    parents for support under CFC § 4055 even if it is not directly requested by the co-parent.
23          51.     "When the law lays an unequal hand on those who have committed
24    intrinsically the same quality of offense and sterilizes one and not the other, it has made
25    as invidious a discrimination as if it had selected a particular race or nationality for
26    oppressive treatment." Skinner v. Oklahoma,316 U.S. 535, 541 (1942). Many people
2~    engage in intimate sexual conduct ofintrinsically the same nature. Yet the state burdens
28    only those whose co-parents will not surrender the child or find a stepparent with whom



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1     to adopt it. Those who face child support obligations may be so burdened even if they are
z     a statutory rape victim, did not engage in vaginal intercourse, or are not even the natural
3     parent ofthe child.
9           52.    Plaintiff reminds the court that as recently as 1965 in Texas, a father of an
5     out-of-wedlock child had neither the common law nor the statutory duty to support his
6     child. Home ofHoly Infancy v. Kaska, 397 S.W.2d 208, 210(Tex. 1965).
            53.    Beyond Equal Protection,"the Due Process Clause ofthe Fourteenth
 s    Amendment protects the fundamental right of parents to make decisions concerning the
 9    care, custody, and control oftheir children...the relationship between parent and child is
io    constitutionally protected." Troxel v. Granville, 530 U.S. 57,66(2000). And as the
~~    Tennessee Supreme Court previously found in an embryonic context, discussion infra,
12    the right to procreate is mirrored by a right to avoid procreation. So it should be that
13    Troxel permits parents the right to relinquish care, custody, and control oftheir children.
14    EQUAL PROTECTION: ABORTION
15          54.    In Rivera v. Minnick, the Supreme Court wrote that,"the putative father has
16    no legitimate right and certainly no liberty interest in avoiding financial obligations to his
~~    natural child that are validly imposed by state law." Rivera v. Minnick,483 U.S. 574,580
is (1987).
19          55.    However, it is worth examining whether such obligations are validly
20    imposed. Women can opt for contraception at the point of intercourse, or be on long-term
21    birth control. They can also unilaterally opt for an abortion procedure. Ifthey do so, it is
22    their constitutional right not to notify their spouse or partner about the pregnancy or the
23    abortion procedure.("The spousal notification requirement is thus likely to prevent a
24    significant number of women from obtaining an abortion. It does not merely make
25    abortions a little more difficult or expensive to obtain; for many women, it will impose a
26    substantial obstacle.")Planned Parenthood v. Casey, 505 U.S. 833,893-894(1992).
2~          56.    In contrast, men can utilize contraception at the point of intercourse. But if
Zs    that fails, they are strictly liable for the obligations of parenthood. As established in the



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       discussion supra, these obligations will be imposed even if the male is a statutory rape
 2     victim, did not engage in vaginal intercourse, or is not the natural parent ofthe child.
 3           57.    It is true that the abortion right is not perfectly analogous to abdicating right
 4    and responsibilities with respect to a live child. In legal terms, courts have said that the
 5    abortion right is about bodily integrity, not procreative autonomy.("The woman's right ti
 6    abortion is not solely, or even primarily, based upon her right to choose not to be a
      mother after engaging in consensual sexual intercourse. Rather, the right to abortion, as
 s    articulated in Roe, derives from the woman's right to bodily integrity")Dubay v. Wells,
 9    506 F.3d 422,429(2007).
io           58.    But as far as legal fictions go, this one is not very robust. For one thing,
~~    women can choose to have an abortion without regard to the bodily integrity interest, anc
12    solely because they do not want to become mothers. And, exercising the bodily integrity
13    right necessarily means not becoming a mother.
19           59.    Constitutional scholax Jack Balkin writes that,"There are not one, but two
15    different rights to abortion. The first right is a woman's right not to be forced by the state
16    to bear children at risk to her life or health. The second right is a woman's right not to be
~~    forced by the state to become a mother and thus to take on the responsibilities of
18    parenthood." Balkin, Jack M., Abortion and Original Meaning. Constitutional
19    Commentary, Vol. 24, No. 101, 2007, Available at SSRN:
20    https://ssrn.com/abstract=925558
z~          60.    Balkin elaborates on this second right:"When the state bans abortion, it
22    forces women to become mothers—with all the attendant social expectations and
23    responsibilities—or else give up sexual intercourse (because contraception is not always
24    effective). Because the state may not force people to become parents against their will, it
25    may not put women to this choice." Ibid.
26          61.    Other scholars agree. In a separate publication, Balkin articulated that
2~   "women's rights to reproductive freedom are secured by the guarantees of liberty and
2s    equality in our Constitution. This reproductive freedom has two different aspects: First,



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      women have the right to decide whether or not to become parents and to take on the
2     obligations and responsibilities of motherhood. Second, women have the right not to be
3     forced by the state to sacrifice their lives or their health in order to bear children." Jack
4     Balkin, What Roe v. Wade Should Have Said, New York University Press, 2005, pg. 45.
5           62.    Other pre-eminent scholars including Reva Siegel, Mark Tushnet, Anita
6     Allen, Jed Rubenfeld, Robin West, Cass Sunstein, and Akhil Amar all "concurred" with
      Balkin's "judgment" upholding the abortion right. And all referenced parenthood, notju:
 s    the demands of pregnancy, as important to the right to abortion.(Siegel, referencing
 9    motherhood, pg. 82; Tushnet, referencing procreation and the education and upbringing
io    of children, pg. 86; Allen, refencing both childbearing and child-rearing, pg. 97;
~~    Rubenfeld, referencing bearing and raising children, pg. 111; West, referencing
12    mothering children, pg. 141; Amar,referencing procreation, pg. 159). Jack Balkin, What
13    Roe v. Wade Should Have Said, New York University Press, 2005.
14          63.     The idea that the abortion right is primarily one related to bodily integrity
Zs    also elides the fact that Roe grew out of both Griswold and Eisenstadt —cases which
16    declared access to contraception a fundamental right. While pregnancy is an onerous
~~    bodily burden, it's a further stretch to say that Griswold and Eisenstadt entail a right to
is    disrupt the body's homeostasis with contraceptive drugs or devices. In Eisenstadt's own
19    words,"ifthe right of privacy means anything, it is the right ofthe individual, married or
Zo    single, to be free from unwarranted governmental intrusion into matters so fundamentally
21    affecting a person as the decision whether to bear or beget a child." Eisenstadt v. Baird,
22    405 U.S. 438,453(1972). Eisenstadt, and thus Roe, was not purely about titrating one's
23    own corpus with hormones or other forms of birth control — it was about the right to
24    avoid parenthood.
25           64.    While the Dubay court's declaration that abortion is purely about bodily
26    integrity might seem like a clever way to prevent men from avoiding the responsibilities
2~    offatherhood, it ultimately has implications for women. Following Planned Parenthood
Zs !, v. Casey, a regulation is unconstitutional if it places an "undue burden" on a woman




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       seeking an abortion. An undue burden is one that has the purpose or effect of placing a
 z "substantial obstacle" in the path of a woman seeking an abortion. Planned Parenthood v.
 3    Casey, 505 U.S. 833, 877(1992).
 4           65.   We can imagine a future in which anon-viable fetus can be extracted from a
 5    pregnant woman in much the same way as today, but can be harvested for growth in a
 6    lab. Because this procedure is identical to abortions today, except that the fetus or embryc
      is extracted "alive", definitionally no substantial obstacle or undue burden exists. We
 a    know this because in Box v. Planned Parenthood, Planned Parenthood never even argued
 9    that Indiana's law specifying the disposal of fetal remains created an undue burden on a
io    woman's right to obtain an abortion. Box v. Planned Parenthood ofInd. & Ky., Inc., 139
~~    S. Ct. 1780, 1781 (2019). The woman is no longer pregnant, so her abortion rights have
12    been vindicated. Of course, based on the child support regime imposed on men today, the
13    woman will be liable for child support to the extracted embryo once it has artificially
1q    grown to term.
15          66.    This is not a hypothetical. Research into synthetic wombs is ongoing at
16    Children's Hospital ofPhiladelphia, where sheep fetuses have been removed from their
~~    mothers' bodies after 105 to 120 days —the equivalent, in a human, of22 to 24 weeks
is       and placed in "biobags," clear plastic containers filled with amniotic fluid. So far the
19    lambs have developed with few complications. According to Dr. Alan Flake, a fetal
20    surgeon in charge ofthe Philadelphia experiments, biobag technology could be available
21    for humans in as little as one to three years. Zoltan Istvan, The Abortion Debate Is Stuck.
2z    Are Artificial Wombs the Answer? The New York Times, August 3,2019.
23    https://www.nytimes.com/2019/08/03/opinion/sunday/abortion-technology-debate.html
24          67.    A fetus is currently considered viable at 23 weeks of gestational age.
25    Elizabeth Yuko, Weighing the Ethics of Artificial Wombs,The New York Times, May 8,
26    2017. https://www.nytimes.com/2017/OS/08/health/artificial-wombs-ethics.html
2~          68.    Critics will argue that such an issue is not yet ripe. But by declaring abortion
2a ~ only a right of bodily integrity, in order to make men strictly liable for child support after




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      ejaculation as in Phillips v. Irons and Dubay v. Wells, courts bind the path of future
z     jurisprudence. If artificial wombs become viable, courts will have no choice but to permit
3     statutes which would require artificial fetal gestation (and child support paid by the
4    "aborting" mother).
5           69.     When courts have had occasion to consider the fate of embryonic tissue
6     outside of a pregnant woman's body,the results have been schizoid. On the one hand,
      Box v. Planned Parenthood upheld an Indiana law which restricted how abortion
s     providers dispose of fetal remains, in part by prohibiting the incineration of fetal remains
 9    along with surgical byproducts. Planned Parenthood never even argued that such a law
io    created an undue burden on a woman's right to obtain an abortion. Box v. Planned
~~ Parenthood ofInd. & Ky., Inc., 139 S. Ct. 1780, 1781 (2019). By allowing a state to
12    determine the ultimate disposition of fetal material, this ruling would seem to presage the
13    brave new world of lab-grown babies envisioned above.
14          70.    However, in Davis v. Davis,the Supreme Court of Tennessee reached
15    almost the opposite conclusion. Davis v. Davis, 842 S.W.2d 588(1992). In that case, a
16    divorcing couple had previously frozen embryos. The wife wished to donate the embryos
~~    for implantation into another couple, but the husband wanted to destroy the embryos. The
is    court cited Eisenstadt: "Ifthe right of privacy means anything, it is the right ofthe
19    individual, married or single, to be free from unwarranted governmental intrusion into
Zo    matters so fundamentally affecting a person as the decision whether to bear or beget a
21    child." Id. at 600. It was the Tennessee court that emphasized "individual."
22          71.    The Davis court characterized husband and wife as "entirely equivalent
23    gamete-providers" and that the "party wishing to avoid procreation should prevail". Id at
24    601-602. The husband was able to destroy the embryos, even though "the State has a
25    legitimate interest in promoting the life or potential life ofthe unborn." Planned
26    Parenthood v. Casey, 505 U.S. 833,870(1992). The Supreme Court of Tennessee
2~    declared that,"the right of procreational autonomy is composed oftwo rights of equal
2s    significance -- the right to procreate and the right to avoid procreation." Davis v. Davis,



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      842 S.W.2d 588,601 (1992). Davis appears to be the first case to recognize fundamental
 2    rights to procreate and avoid procreation. In sum,"the interest of living individuals in
 3    avoiding procreation is sufficient to justify taking steps to terminate the procreational
 4    process, despite the state's interest in potential life." Id. at 602.
 5           72.    The Tennessee court felt that any prior agreement concerning disposition of
 6    the embryos should be carried out, but if no such agreement existed, the party wishing to
      avoid procreation should prevail. Id. at 604. As another judge wrote,"Once lost, the right
 s    not to procreate can never be regained. It is the irrevocability of parenthood that is most
 9    crushing to the unconsenting gamete provider; and it is principally because of this that I
io    find it hard to imagine a situation where a court should undertake to foist parenthood
~~    upon an unwilling individual." Kass v. Kass, 235 A.D.2d 150, 166(1997).
12          73.    Other courts have felt even more strongly that the right not to procreate is
13    absolute. In Massachusetts, courts have said that even if both parties signed a contract
14    giving the woman the right to the embryos in case of divorce, such a contract could not
15    be enforced. Either parent cannot be forced to become a parent in circumstances where
16    they object, even ifthey signed a contract. Pam Belluck, The Right to Be a Father(or
~~    Not), The New York Times, Nov. 6, 2005
is    https://www.nytimes.com/2005/11/06/weekinreview/the-right-to-be-a-father-or-not.html.
19          74.    So even in the face ofthe state's legitimate interest in potential life, a man
ao    can stop embryo implantation to avoid fatherhood. And in the state of California,
21    California Health and Safety Code § 1255.7 and California Penal Code § 271.5 provide
z2    immunity for voluntary surrender of a newborn at designated safe-surrender sites.
23    Eisenstadt tells us that procreative autonomy lies with individuals, not couples: a right
29    granted to a couple is not easily withheld from an individual. And if some people have
25    the right to surrender a newborn, Grendel's Den tells us that the government cannot
26    delegate allocation ofthat right to private, nongovernmental entities: a co-parent cannot
2~    block an individual's petition to terminate parental rights and responsibilities under CFC
28    § 7822.



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            75.    State governments will pursue unwilling fathers to the ends ofthe earth to
      collect child support, but a mother can surrender a child in California and her anonymity
      is legally protected. Agencies "routinely" try to track down biological fathers when a
      single mother seeks public benefits for a child. John Hanna and Heather Hollingsworth,
      Sperm donor case highlights child support issues, The Associated Press, January 4, 2013.
      https://wislawjournal.com/2013/O 1/04/kansas-wants-sperm-donor-pav-child-support/.
            76.    And if the mother opts for an abortion instead, she has a constitutional right
      not to inform the father.("The spousal notification requirement is thus likely to prevent a
      significant number of women from obtaining an abortion. It does not merely make
io    abortions a little more difficult or expensive to obtain; for many women, it will impose a
~i    substantial obstacle.")Planned Parenthood v. Casey, 505 U.S. 833, 893-894(1992). This
12    unequal regime violates the 14~' Amendment and cannot stand. Moreover, because
13    privacy interests are implicated, the regime also runs afoul ofthe 14~' Amendment's Due
14    Process Clause.
15    EQUAL PROTECTION: SPERM DONATION
16          77.    Courts have held that sperm donors can contract to waive their parental
~~    rights. John Hanna, Kansas judge rules sperm donor not on hook for child support, AP
is    News,November 29, 2016.
19    https://apnews.com/f5a0689f777f44f6ab62935e55c85156/kansas-iud~e-rules-sperm-
20    donor-not-hook-child-support. This result is puzzling for three reasons. First, the fact that
21    the mother was artificially inseminated with Marotta's sperm seems important to the
22    court's decision, even though intimate sexual activity is a fundamental right. Therefore, a
23    classification based on whether a child is born of voluntary artificial vs. natural
24    insemination is highly suspect. It should not matter how the child was conceived.
25    Lawrence v. Texas, 539 U.S. 558, 565 (2003). Second, if a parent can contract in advance
26    to waive parental rights and responsibilities, perhaps parenthood should not be foisted so
a~    forcefully on people who inadvertently bear or beget offspring, such as tort or statutory
2e    rape victims. Third, the fact that the child's mother had asame-sex partner seemed



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      important to the court — as if Marotta would be responsible for child support if a single
 2    woman had inseminated herself. But as discussed above, single people can and do adopt
 3    children in large numbers. If Marotta is not responsible for child support, surely, the
 4    statutory rape victim is not either.
 5
                                        PRAYER FOR RELIEF
 6
             WI~REFORE,Plaintiffs prays for relief against Defendants as follows:
             78.    An order enjoining and restraining Defendants, and their officers, agents,
 e
      servants, employees, and attorneys, and those in active concert or participation with them
 9
      who receive actual notice ofthe injunction, from enforcing CFC § 4055 until CFC § 7
io
      can be brought within constitutional limits.
~~
             79.    A declaration that the one-year requirement contained in CFC § 7822(a)(3)
12
      violates the United States Constitution with respect to parents who voluntarily seek
13
      termination oftheir parental rights.
14
             80.    A declaration that CFC § 7822(a)(3) can be invoked unilaterally by a parent
15
      seeking voluntary termination of his or her parental rights, and does not require consent
16
      ofthe other parent or adoption by a third party. A parent's voluntary petition for
~~
      abandonment should be considered conclusive evidence that terminating that parent's
is
      parental rights and obligations serves the child's best interests. After all: if the parent is
19
      unfit, parental rights and responsibilities will be terminated. And ifthe parent is fit, "the
20
      traditional presumption [is] that a fit parent will act in the best interest of his or her
21
      child." Troxel v. Granville, 530 U.S. 57,69(2000). Therefore, the parent's voluntary
22
      petition for abandonment should be granted due to its consonance with the child's best
23
      interests. Just as California Health and Safety Code § 1255.7 and California Penal Code §
24
      271.5 are time-limited to within 72 hours of a newborn's birth, so this right of
25
      abandonment could be time-limited to within 72 hours of birth or notification of
26
      paternity, whichever comes later.
2~

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            81.    A declaration that renouncing the rights and responsibilities of parenthood
z     can be done upon an allegation of paternity, and does not require proofthat the
3     renouncing individual is actually the biological parent.
4           82.    A declaration that the "abandonment" language contained in CFC § 7822 is
5     improper and should be replaced with "relinquish" or "surrender" to mirror adoption and
6     safe surrender statutes.
            83.    A declaration that relinquishing a child for adoption is a fundamental right
s     guaranteed by the United States Constitution. Plaintiff is aware of no case in which two
 9    parents or a single parent who attempted to relinquish a child for adoption were denied.
io    Of course,Eisenstadt suggests that rights are held by individuals, not couples. And
~~    Grendel's Den teaches that the government cannot delegate the allocation of rights to
12    private, non-governmental entities (in this case, a co-parent). Relinquishing a child for
13    adoption is an individual right.
14          84.    A declaration that such adoptive right to relinquish parental rights and
15    responsibilities cannot be vitiated or impaired by a biological co-parent; and
16          85.    Such other and further relief as the Court deems just.
17
                                                    Dated this 28th day of September, 2020
is
19

20                                                                    ROBERT H. NEWELL
                                                                      Plaintiff in Pro Per
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